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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

ELIZABETH HALPER-ASEFI;
MARY CONOBOY; and NESTOR
MONTE, JR., on behalf of themselves
and others similarly situated,

      Plaintiffs,                            Case No.____________________
v.

MADONNA LOUISE CICCONE; LIVE                 CLASS ACTION COMPLAINT
NATION WORLDWIDE, INC.; LIVE
NATION MTOURS (USA), INC.; and               (JURY TRIAL DEMANDED)
LINCOLN HOLDINGS, LLC D/B/A
MONUMENTAL SPORTS &
ENTERTAINMENT,

     Defendants.
_________________________________/

      Plaintiffs, Elizabeth Halper-Asefi, Mary Conoboy, and Nestor Monte, Jr., as

Class Representatives, on behalf of themselves and all others similarly situated, by

and through their undersigned attorneys, file their complaint against Defendants,

Madonna Louise Ciccone, individually, Live Nation Worldwide, Inc., Live Nation M

Tours (USA), Inc., and Lincoln Holdings, LLC d/b/a Monumental Sports &

Entertainment, and aver as follows:




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                                            INTRODUCTION

        This class action complaint is filed by three consumers who were deceived

when they purchased tickets for Madonna’s Celebration Tour concerts on December

18th and 19th, 2023 at the Capital One Arena. 1

        Defendants advertised that the Celebration Tour concerts at the Capital One

Arena would start at 8:30 p.m. (with doors opening at 7:30 p.m.), but Madonna did

not take the stage until after 10:30 p.m. on both nights. The concerts started over

three hours late; as a result, all three individual Plaintiffs who purchased their tickets

in response to the Defendants’ marketing had to leave the concerts early prior to the

concerts’ conclusion, therefore depriving each of them of the benefit of seeing the

complete concert. 2

        Madonna, and her promoter, Live Nation, purposely and deceptively withheld

informing ticket purchasers in the marketing of the concerts that: (1) Madonna would

not appear at 8:30 p.m. but instead would make fans wait as late as 10:40 p.m. to

start her show; (2) Madonna would maintain a hot and uncomfortable temperature

in the venue during her performance; and (3) Madonna would lip synch much of her



1
  Madonna, an American singer, songwriter, actress and business woman, commenced her Celebration Tour on
October 14, 2023, visiting cities in North America, Europe and South America. Her first North America concert was
December 13, 2023 in Brooklyn, New York, followed by 46 concerts in 25 cities. Over her career, Madonna has
generated over 1.4 billion dollars in concert ticket sales.
2
 This Complaint is not about unhappy fans who don’t want to stay up late, but instead, reasonable, responsible people
who had commitments to babysitters, work, getting their vehicles out of parking lots that closed at 12:00 midnight,
and realizing that public transportation would no longer be operating.




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performance. Defendants should have disclosed to consumers this important

information before they purchased their tickets. Forcing consumers to wait hours

for her performance in a hot, uncomfortable arena is demonstrative of Madonna’s

arrogant and total disrespect for her fans. In essence, Madonna and Live Nation are

a consumer’s worst nightmare.

          Many ticket purchasers have expressed their anger in social media, stating3:

                   “I’m not sitting around for three hours to watch anyone play...
                  how incredibly disrespectful to everyone from the performance, the
                  crew and especially those who drove or flew and paid so much
                  money to see her.”

                  “She was late when we saw her in London, we had to miss
                  half the show, otherwise we would not have been able to get
                  home.”

                   “The show is ready. It’s her arrogance to show you she has
                  the power to make you wait.”

                  “I’m the biggest Madonna fan, but she kept me waiting way
                  too long that it ruins the show. She should go on the time that
                  it says on the ticket. Her time isn’t more valuable than
                  ours… it is rude.”

          Finally, a prime example of Madonna’s disrespect to her fans was during a

December 17, 2019, performance at the Fillmore, Miami Beach, Florida, where she

had turned off the venue’s air conditioning and her uncomfortable fans chanted:

                  “A/C! A/C! AC!... and Madonna, in response, said, “f**k you!
                  I’m cold!... If you’re hot, take your f**king clothes off!” 4

3
    From news Got MEAWW.com/Celebrity News April 6, 2024.
4
    December 17, 2019, Filmore East Miami, Florida.




                                                   3
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       If Madonna was not going to perform as advertised, she should have changed

the time on the Celebration Tour tickets from 8:30 p.m. to 10:30 p.m., as she and

Live Nation did during the 2019 Madame X Tour, giving consumers reasonable

notice of a later start time.

       At the December 18th concert, after making her fans listen to pre-recorded

music for over two hours in a hot arena, Madonna finally took the stage and made

the following admission:

              “I am sorry I am late... no, I am not sorry, it’s who I am...
              I’m always late.”

       Madonna and Live Nation have publicly stated that it is not reasonable for

consumers to believe that the 8:30 start time on the ticket indicates that’s when the

concert will begin and that no concerts start on the start time as advertised. This is

absurd. In fact, reasonable consumers have seen that concerts featuring Taylor Swift

and Bruce Springsteen, whose tours are also promoted by Live Nation, do start on

the time indicated on the ticket and have similar experiences attending Broadway

theater, NFL football and Major League baseball games, for example.

       Defendants’ actions with respect to the December concerts at the Capital One

Arena constitute not just a breach of contract with Plaintiffs and the Class Members,

but also a wanton exercise in false advertising, intentional and negligent

misrepresentation and unfair and deceptive trade practices. These acts or omissions




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are not countenanced by law, and Plaintiffs and the Class Members should be

compensated for their damages.

                      PARTIES, JURISDICTION, AND VENUE

      1.     Plaintiff, Elizabeth Halper-Asefi (“Halper-Asefi”), is a resident of

Fairfax County, Virginia, who is over the age of 18 years.

      2.     Plaintiff, Mary Conoboy (“Conoboy”), is a resident of Loudon County,

Virginia, who is over the age of 18 years.

      3.     Plaintiff, Nestor Monte, Jr. (“Monte”), is a resident of Prince George’s

County, Maryland, who is over the age of 18 years (Halper-Asefi, Conoboy, and

Monte may be hereafter referred to, collectively, as “Plaintiffs”).

      4.     Defendant, Madonna Louise Ciccone (“Madonna”), is an individual

residing in the State of New York and doing business in the District of Columbia as

a concert performer under the name “Madonna.” This Court has personal jurisdiction

over Madonna pursuant to D.C. Code §§ 13-423(a)(1) and (a)(3).

      5.     Defendant, Live Nation Worldwide, Inc. (“Live Nation”), is a foreign

business corporation organized and existing pursuant to the laws of the State of

Delaware and doing business as a concert promoter in the District of Columbia. Live

Nation owns and does business as “Ticketmaster.” This Court has personal

jurisdiction over Live Nation pursuant to D.C. Code §§ 13-423(a)(1) and (a)(3).




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      6.     Defendant, Live Nation MTours (USA), Inc. (“MTours”), is a foreign

business corporation organized and existing pursuant to the laws of the State of

Delaware and doing business in the District of Columbia. This Court has personal

jurisdiction over MTours pursuant to D.C. Code §§ 13-423(a)(1) and (a)(3).

      7.     Defendant, Lincoln Holdings, LLC, is a limited liability company

organized and existing pursuant to the laws of the District of Columbia and having

its principal place of business in the District of Columbia. Lincoln Holdings, LLC

does business under the name Monumental Sports & Entertainment, which owns and

operates the Capital One Arena in the District of Columbia (the “Venue”).

      8.     This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. ¶ 1332(d)(2) (class action jurisdiction). Upon information and belief, the value

of the tickets for the two concerts at the Capital One Arena exceed $5 million, as each

of the two concerts which form the basis of this action hold up to 20,000 seats

(calculated with an average ticket price of $150-$200).

      9.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because

the contract at issue was entered into and/or performed in the District of Columbia,

and the statutory and common law causes of action asserted in this Complaint arose

and/or accrued there.

      10.    All conditions precedent to this action have occurred, been performed,

or have been waived.




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                           GENERAL ALLEGATIONS

               AS TO THE TICKET-PURCHASER PLAINTIFFS

      11.    On or about February 23, 2023, Plaintiff Halper-Asefi purchased from

StubHub, for valuable consideration in the amount of $992.76, two tickets to attend

a December 19, 2023 musical performance at the Venue by Madonna, during her

“Celebration Tour” concert tour.

      12.    On or about March 30, 2023, Plaintiff Conoboy purchased from

Ticketmaster, for valuable consideration in the amount of $537.70, two tickets to

attend a December 18, 2023 musical performance at the Venue by Madonna, during

her “Celebration Tour” concert tour.

      13.    On or about February 23, 2023, Plaintiff Monte purchased from

Ticketmaster, for valuable consideration in the amount of $252.44, two tickets to

attend a December 18, 2023 musical performance at the Venue by Madonna, during

her “Celebration Tour” concert tour.

      14.    The Plaintiffs’ concert tickets were purchased from Madonna, who by

contract, employed Live Nation to be her tour promoter, who then arranged on her

behalf ticket sales through various websites, outlets and ticket agencies. The Plaintiffs

purchased their tickets in reliance of Defendants’ advertisements for the concerts

stating the concerts would start at 8:30 p.m., and Defendants’ websites also confirmed

that start time. Accordingly, Plaintiffs made the decision to purchase their tickets, in




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part, based on the start time of the concerts. Further, the terms printed on the face of

the aforesaid tickets stated that the musical performance by Madonna was to occur

on a certain date at a certain time.

       15.     Both of the subject concerts on December 18th and 19th, 2023 started

over two hours late, when Madonna finally took the stage after 10:30 p.m., rather

than at 8:30 p.m. Many ticket purchasers arrived around the “doors open” time of

7:30 p.m., causing them to have to wait up to three hours to see the start of the

performance they paid for. Plaintiffs had to leave the Concerts early due to the fact

that Madonna took the stage over two hours late and they had to get home. Further,

the Venue was hot and uncomfortable, presumably at the direction of Madonna (who

has a history of requiring a hot, uncomfortable temperature during her concerts) and,

upon information and belief, Madonna engaged in lip synching during the concerts.

(The concerts on December 18th and 19th, 2023 at the Venue shall be hereafter

referred to, collectively, as the “Concerts”).

                             AS TO ALL PLAINTIFFS

       16.     Defendants’ advertising for the Concerts and the tickets themselves

specifically stated that each concert was to begin at 8:30 p.m. and said representation

regarding the start of the Concerts was material to Plaintiffs’ agreement to purchase

the tickets.




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      17.     Madonna has a long history of arriving and starting her concerts late,

sometimes several hours late. This history occurred throughout her 2016 Rebel Heart

Tour, her 2019-2020 Madame X Tour, and prior tours, where Madonna continuously

started her concerts over two hours late. In addition, Madonna was also several hours

late starting her Celebration Tour concerts in December 2023, in Brooklyn, New

York, and throughout her Celebration Tour. There have been myriad articles in the

media and the internet over the years of fans complaining about Madonna not taking

the stage for several hours after the advertised start time of her concerts.

Unfortunately, not all people who rely on advertising for the concerts know this.

Further, even if some ticket purchasers know of Madonna’s unfortunate history of

starting her concerts late, they do not know how late she will show-up on stage at any

particular concert, so ticket purchasers arrived at the start time as advertised.

      18.    Defendants failed to provide any notice to the ticketholders that the

Concerts would start much later than the start time printed on the ticket and as

advertised, which resulted in the ticketholders waiting for hours for the Concerts to

begin at the Venue. Ticketholders leaving the Venue much later than they wanted or

anticipated due to Madonna’s late start were confronted with limited public

transportation, limited ride-sharing, and/or increased public and private

transportation costs at that late hour. Further, ticketholders were uncomfortably hot

due to Madonna’s requirement that the Venue raise the temperature (this was made




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worse by her failure to take the stage for over two hours after the advertised start

time), and they did not know that Madonna would lip synch some of her songs.

      19.       Defendants engaged in unconscionable, unfair, and/or deceptive trade

practices by advertising and offering to the public Concerts that were promised to

begin at 8:30 p.m., where they either knew, or should have known, that Madonna

would most certainly not take the stage at the advertised start time. These

unconscionable, unfair, and/or deceptive trade practices also include failing to warn

ticket purchasers of the uncomfortable temperature inside the Venue and that the

performer would not perform all of her music live. Plaintiffs and other ticketholders

to the Concerts have suffered damages as a result of these unconscionable and unfair

practices.

                           CLASS ACTION ALLEGATIONS

      20.       Class Definition: Plaintiffs bring this action pursuant to Federal Rules

of Civil Procedure 23(a) and (b), both on behalf of themselves and on behalf of the

following class:

             (1) All individuals throughout the United States who, through
                 Live Nation, purchased a ticket or tickets or became a
                 ticketholder for the Concerts (the “Live Nation Class”).

             (2) All individuals throughout the United States who, through
                 a ticket reseller or any other person or entity who is neither
                 Live Nation nor the box office at the Venue, purchased a
                 ticket or tickets or became a ticketholder to the Concerts
                 (the “Reseller Class”).




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            (3) All individuals throughout the United States who, through
                the box office at the Venue, purchased a ticket or tickets
                or became a ticketholder to the Concerts (the “Box Office
                Class”).

(The subject classes will be collectively referred to as the “Class” and the members

of the Class will be collectively referred to as “Class Members”).

      21.      The following people are excluded from the Class: (1) any judge or

magistrate presiding over this action and members of their families; (2) Defendants,

Defendants’ subsidiaries, parents, successors, predecessors, and any entity in which

Defendants or their parents have a controlling interest, and its current or former

employees, officers, and directors; (3) persons who properly execute and file a timely

request for exclusion from the Class; (4) persons whose claims in this matter have

been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel

and Defendants’ counsel; and (6) the legal representatives, successors, and assigns of

any such excluded persons.

      22.      Plaintiffs reserve the right to modify or amend the definition of the

proposed Class and/or to add subclasses, if deemed necessary, before this Court

determines whether certification is appropriate.

      23.      Numerosity under Fed. R. Civ. P. 23(a)(1): The number of Class

Members are so numerous that separate joinder of each member is impractical. Upon

information and belief, and subject to discovery, the Class consists of thousands of

members or more, the identity of whom are within the exclusive knowledge of and


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can be ascertained only by resort to Live Nation’s records, included within which are

Ticketmaster’s records and MTours’ records. Live Nation has the administrative

capability through its computer systems and other records to identify all members of

the Class and the amount of paid by each Class Member, whether any tickets were

resold through Ticketmaster, and the price of the tickets upon resale, and such

specific information is not otherwise available to Plaintiffs.

      24.      Commonality under Fed. R. Civ. P. 23(a)(2): This action poses

questions of law and fact that are common to and affect the rights of the Class

relating to Live Nation’s and MTours’ business practices challenged herein, as well

as the promotion of the Celebration Tour and the start times for Madonna’s concerts.

Those common questions predominate over any questions affecting only individual

Class Members. The common questions include, but are not limited to:

      (a) Whether there was a reasonable expectation that the Concerts would start

            at the time advertised for the Concerts and listed on the tickets;

      (b) Whether there was a reasonable expectation that the start time of the

            Concerts was not subject to change;

      (c) Whether, subsequent to the decision by Madonna and/or the Venue to

            change the start time, an offer of a refund should have been made;

      (d) Whether there was a reasonable expectation that the temperature inside the

            Venue would be comfortable, as opposed to being made unusually hot at




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            the requirement of the performer, and that the performer would perform

            her music live (as opposed to lip synching);

      (e) Whether a breach of contract occurred;

      (f) Whether promissory estoppel should have prevented the changes at issue;

      (g) Whether there was a negligent misrepresentation with regard to the issues

            detailed in this Complaint;

      (h) Whether there has been a violation of D.C. Code § 28-3904 (Unfair or

            deceptive trade practices); and

      (j) Whether Defendants have been unjustly enriched with regard to the

      Concerts.

      25.      Typicality under Fed. R. Civ. P. 23(a)(3): Based on the facts and

circumstances set forth herein, Plaintiffs’ claims are typical of the claims of the Class

Members in that they arise out of the same wrongful conduct of Defendants, with

regard to the same Concerts occurring in the same city, as described herein.

      26.      Adequacy of Representation under Fed. R. Civ. P. 23(a)(4): Based

on the facts and circumstances set forth herein, Plaintiffs will fairly and adequately

protect and represent the interests of each Class Member. Plaintiffs each purchased

tickets to the Concerts and suffered damages as a result of the change in start time.

In addition:




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      (a) Plaintiffs are committed to the vigorous prosecution of this action on

            behalf of themselves and all others similarly situated and have retained

            competent counsel experienced in the prosecution of class actions and, in

            particular, actions regarding concert promoters and performers;

      (b) There is no hostility between Plaintiffs and the unnamed Class Members;

      (c) Plaintiffs anticipate no difficulty in the management of this litigation as a

            class action; and

      (d) Plaintiffs’ legal counsel have the financial and legal resources to meet the

      substantial costs and legal issues associated with this type of litigation.

      27.      Predominance under Fed. R. Civ. P. 23(b)(3): The questions of law

and fact common to the Class as set forth in the “commonality” allegation above

predominate over any individual issues. As such, the “commonality” allegations

(paragraph 24 and subparts) are restated and incorporated herein by reference.

      28.      Superiority under Fed. R. Civ. P. 23(b)(3): A class is superior to other

available methods and highly desirable for the fair and efficient adjudication of this

controversy. Because the amount of each individual Class member’s claim is very

small relative to the complexity of the litigation and because the financial resources

of Live Nation, MTours, Madonna, and the Venue are enormous, no Class Member

could afford to seek legal redress individually for the claims alleged herein.

Therefore, absent a class action, the Class Members will continue to suffer losses and




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Defendants’ conduct will proceed without remedy. In addition, even if Class

Members themselves could afford such individual litigation, the court system could

not. Given the complex legal and factual issues involved, individualized litigation

would significantly increase the delay and expense to all parties and to the Court.

Individualized litigation would also create the potential for inconsistent or

contradictory rulings. By contrast, a class action presents far fewer management

difficulties, allows claims to be heard which might otherwise go unheard because of

the relative expense of bringing individual lawsuits, and provides the benefits of

adjudication, economies of scale, and comprehensive supervision by a single court.

       29.     There are no known individual Class Members who are interested in

individually controlling the prosecution of separate actions.

       30.     Plaintiffs also bring this class action as a result of the Defendants’

actions or omissions set forth herein, which actions or omissions are generally

applicable to all Class Members, thereby making determination of damages

appropriate to the Class as a whole.

                COUNT I: VIOLATION OF D.C. CODE § 28-3904
                (UNFAIR OR DECEPTIVE TRADE PRACTICES)
                            (as to all Defendants)

       31.     Plaintiffs repeat and reallege paragraphs 1 through 30 of the Complaint

as if fully set forth herein.




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      32.     Plaintiffs and the Class Members are “persons” within the meaning of

D.C. Code § 28-3901(a)(1). At all times relevant hereto, Plaintiffs, as well as all Class

Member ticketholders, were legitimate “consumers” as defined by D.C. Code § 28-

3901(a)(2) and are entitled to seek the underlying relief pursuant to D.C. Code § 28-

3905(k)(1).

      33.     D.C. Code § 28-3904 states: “It shall be a violation of this chapter for

any person to engage in an unfair or deceptive trade practice, whether or not any

consumer is in fact mislead, deceived, or damaged thereby. . . .”

      34.     At all times material hereto, Defendants solicited, advertised, offered,

and provided goods and services in the District of Columbia by way of advertising

concerts, selling concert tickets, promoting, and performing live music concerts, and

thereby were engaged in a trade or practice.

      35.     Defendants have engaged in repeated and persistent deceptive acts and

practices in the District of Columbia in the marketing and advertising of the Concerts

for the Celebration Tour, including but not limited to:

   a. Misrepresenting, directly or by implication, that the start time of the Concerts

      would be at 8:30 p.m.;

   b. Falsely representing, directly or by implication, that the Concerts would start

      at 8:30 p.m.;




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   c. Failing to provide notice to Plaintiffs and all Class Members that the Concerts

      would not start at 8:30 p.m.;

   d. Failing to inform (or warn) Plaintiffs and all Class Members that the

      temperature inside the Venue would be uncomfortably hot;

   e. Failing to inform (or warn) Plaintiffs and all Class Members that Madonna

      would be lip synching through some of her performance; and

   f. Failing to provide Plaintiffs and all Class Members with the option of receiving

      a refund.

      36.      By engaging in the acts and practices described above, all of which were

material, Defendants have engaged in and continue to engage in unfair or deceptive

trade practices in violation of D.C. Code § 28-3904, including but not limited to

subsections (e), (f), and (h).

      37.     Defendants’ representations and omissions were materially false and

misleading and likely to deceive the consuming public because Defendants knew and

failed to disclose that (i) Madonna would, or would most likely, start the Concerts

late and that she has a consistent history over many years of starting her concerts over

two hours late, (ii) the temperature inside the Venue would be uncomfortably hot as

required by Madonna, and (iii) Madonna would be lip synching through some of her

performance.




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      38.     The deceptive acts and practices of Defendants have directly,

foreseeably, and proximately caused damages and injury to Plaintiffs and the other

Class Members. Indeed, Defendant’s false and deceptive representations caused

Plaintiffs and other Class Members to suffer actual damages, including not being able

to see the Concerts they paid money to see.

      39.     Said actions and omissions were committed for various Madonna

concerts throughout the United States and over many years sufficiently to be

considered a regular business practice.

      40.     Plaintiffs and the Class Members are entitled to pursue claims against

Defendants for actual damages, treble damages (or $1,500 per violation, whichever

is greater), punitive damages (if permitted), costs, and reasonable attorneys’ fees

pursuant to D.C. Code § 28-3905(k)(2) to redress Defendant’s violations of D.C.

Code § 28-3904.

      41.     Plaintiffs have retained the undersigned counsel to represent them and

all Class Members in this matter and have agreed to pay a reasonable attorneys’ fee

for their counsel’s professional services.

      WHEREFORE, Plaintiffs, individually, and on behalf of all Class Members,

demand judgment against Defendants for actual damages, treble damages (or

statutory damages, whichever are greater), as well as attorneys’ fees and costs




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pursuant to D.C. Code § 28-3905(k), pre and post-judgment interest as permitted by

law, and any other relief that this Court deems just and proper.

                       COUNT II: BREACH OF CONTRACT
                              (against Live Nation)

       42.     Plaintiffs repeat and reallege paragraphs 1 through 30 of the Complaint

as if fully set forth herein.

       43.     Plaintiffs and all other Class Members entered into a valid and

enforceable written contract with Live Nation, in which it advertised and offered

tickets for the Concerts that were promised to begin at 8:30 p.m., the terms of which

Plaintiffs accepted by virtue of their purchase of such offered tickets, and which

promises were contained in printed representations in advertisements for the tickets

and on the tickets themselves.

       44.     Plaintiffs and all other Class Members fully performed under the

contract by paying valuable consideration to Live Nation.

       45.     Live Nation breached its contract with Plaintiffs by (i) failing to provide

Plaintiffs and all other Class Members with a concert that began at the time promised,

(ii) failing to provide a comfortable concert environment by raising the temperature

to unusual levels at the request of the performer, and (iii) allowing Madonna to lip

synch through some of her performance. Additionally, Live Nation failed to provide

any notice that the Concerts would not begin at 8:30 p.m., that the Venue would be

uncomfortably hot, or that Madonna would be lip synching some of her performance.


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       46.     All conditions precedent to bringing this action for breach of contract

have occurred or have been waived.

       47.     As a direct and proximate result of said breach of contract by Live

Nation, Plaintiffs and all other Class Members have suffered actual and consequential

damages.

       WHEREFORE, Plaintiffs, individually, and on behalf of all Class Members,

demand judgment against Live Nation for actual and consequential damages, as well

as costs, pre and post-judgment interest as permitted by law, and any other relief that

this Court deems just and proper.

                       COUNT III: UNJUST ENRICHMENT
              (against Live Nation – pled in the alternative to Count II)

       48.     Plaintiffs repeat and reallege paragraphs 1 through 30 of the Complaint

as if fully set forth herein.

       49.     Live Nation collected money for concert tickets from Plaintiffs and other

Class Members who reasonably believed, based on Defendants’ advertising and

marketing, that (i) the Concerts would promptly begin at 8:30 p.m., (ii) that the

temperature inside the concert venue would be comfortable and consistent with all

other activities inside the venue, and (iii) Madonna would not lip synch through some

of her songs. Had Plaintiffs and other Class Members known that the Concerts would

start after 10:30 p.m., that it would be uncomfortably hot, and that the performer

would be lip synching, they would not have purchased their tickets.


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       50.     As a result, Plaintiffs and the Class Members have conferred a benefit

on Live Nation.

       51.     Live Nation had knowledge of this benefit and voluntarily accepted and

retained the benefit conferred.

       52.     Live Nation will be unjustly enriched if it is allowed to retain the

aforementioned benefits, and Plaintiff and each Class Member is entitled to recover

the amount by which Live Nation was unjustly enriched at Plaintiffs’ and each Class

Member’s expense.

       WHEREFORE, Plaintiffs, individually, and on behalf of all Class Members,

demand judgment against Live Nation for actual and consequential damages, as well

as costs, pre and post-judgment interest as permitted by law, and any other relief that

this Court deems just and proper.

               COUNT IV: NEGLIGENT MISREPRESENTATION
                          (against all Defendants)

       53.     Plaintiffs repeat and reallege paragraphs 1 through 30 of the Complaint

as if fully set forth herein.

       54.     At all times material hereto, Defendants represented to Plaintiffs and all

other Class Members through various advertising campaigns, and on their respective

websites, that the Concerts would start at 8:30 p.m. Further, Defendants failed to

represent (or omitted representing) that the concert venue would be unusually and




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uncomfortably hot, and that Madonna would be lip synching through some of her

performance.

      55.     Based on the years-long history of Madonna arriving several hours late

to prior concerts (and which conduct also occurred throughout the Celebration Tour)

Defendants knew or should have known that the Concerts would not start at 8:30

p.m., and that Madonna would not take the stage until several hours after the start

time, causing Plaintiffs and all Class Members to have to wait several hours.

Defendants also knew or should have known, based on significant media attention,

that Madonna’s fans have complained about the unusually and uncomfortably hot

environment inside her concerts, and/or that Madonna would be lip synching through

some of her performance. Despite that, Defendants misrepresented the start time of

the concerts and failed to make representations about the temperature and lip

synching, with the intent to induce Plaintiffs to rely on those representations (and

omissions).

      56.     As a result of said representations and omissions, and in reliance

thereon, Plaintiffs and all Class Members purchased concert tickets.

      57.     As a result of said misrepresentations and omissions, Plaintiffs and the

Class Members suffered actual and consequential damages, including but not limited

to loss of consideration paid for their concert tickets.




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      WHEREFORE, Plaintiffs, individually, and on behalf of all Class Members,

demand judgment against Defendants for actual and consequential damages, as well

as costs, pre and post-judgment interest as permitted by law, and any other relief that

this Court deems just and proper.


Dated: April 18, 2024                  Respectfully submitted,

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